     Case 2:08-cr-00137-WFN    ECF No. 514   filed 10/24/08   PageID.1147 Page 1 of 1




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 3
 4                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 5
 6
       UNITED STATES OF AMERICA,                )
 7                                              )    No. CR-08-137-WFN-34
                        Plaintiff,              )
 8                                              )    ORDER FOLLOWING STATUS
       v.                                       )    CONFERENCE AND GRANTING
 9                                              )    ORAL MOTION TO MODIFY
       SHALISHA BROUGH,                         )    CONDITIONS OF RELEASE
10                                              )
                        Defendant.              )
11                                              )

12          At the October 23, 2008, status conference, Defendant appeared

13    with counsel Greg Lockwood.        U.S. Probation Officer Shawn Kennicutt

14    also was present.

15          Defendant requested modification of her release conditions so

16    that she may seek employment.

17          IT IS ORDERED:

18          1.    The Defendant’s oral Motion to modify release conditions

19    (Ct. Rec. 511) is GRANTED.

20          2.    Defendant’s release conditions are modified to the extent

21    she may leave home to seek lawful employment with prior approval of

22    her supervising U.S. Probation Officer.

23          3.    A status hearing is set for November 18, 2008, at 9:15

24    a.m., before the undersigned.

25          DATED October 24, 2008.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
28

      ORDER FOLLOWING STATUS CONFERENCE AND GRANTING
      ORAL MOTION TO MODIFY CONDITIONS OF RELEASE - 1
